
717 S.E.2d 574 (2011)
STATE of North Carolina
v.
Floyd Calvin CODY.
No. 176P11.
Supreme Court of North Carolina.
August 25, 2011.
Duncan B. McCormick, Lillington, for Cody, Floyd Calvin.
Jonathan Babb, for State of N.C.
J. Douglas Henderson, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 10th of May 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
